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 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                     OAKLAND DIVISION

11
      WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
12    and FACEBOOK, INC., a Delaware
      corporation,                                  [PROPOSED] ORDER GRANTING
13                                                  DEFENDANTS NSO GROUP
                  Plaintiffs,                       TECHNOLOGIES LIMITED AND Q
14                                                  CYBER TECHNOLOGIES LIMITED’S
            v.                                      ADMINISTRATIVE MOTION TO FILE
15                                                  UNDER SEAL
      NSO GROUP TECHNOLOGIES LIMITED
16    and Q CYBER TECHNOLOGIES LIMITED,
17                    Defendants.                   Action Filed: 10/29/2019
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      [PROPOSED] ORDER                                                   Case No. 4:19-cv-07123-PJH
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 1           Having considered the Administrative Motion to File Under Seal filed by NSO Group

 2    Technologies Limited and Q Cyber Technologies Limited (collectively “NSO” or “Defendants”),

 3    IT IS HEREBY ORDERED that the Motion is GRANTED and the following documents WILL

 4    REMAIN SEALED, as follows:

 5

 6                    Document                    Portion(s) to Seal          Reason for Sealing
 7     Declaration of Aaron S. Craig in         Indicated portions of      Refers to Defendants’
       Support of Administrative Motions to     paragraphs: 2-10, 12       highly confidential and
 8     Seal filed concurrently with Defendants’                            commercially sensitive
       Trial Brief and Defendants’ Motions in                              technical materials
 9     Limine                                                              designated as “Highly
                                                                           Confidential – Attorneys’
10                                                                         Eyes Only”
11     Defendants’ Trial Brief (“Trial Brief”)   Indicated portions in     Refers to Defendants’
                                                 yellow of pages: 1-4,     highly confidential and
12     (Exhibit 1 to the Declaration of Aaron S. 11, 17                    commercially sensitive
       Craig in Support of                                                 technical materials
13     Defendants’ Administrative Motions)                                 designated as “Highly
                                                                           Confidential – Attorneys’
14
                                                                           Eyes Only”
15

16     Defendants’ Motions in Limine               Indicated portions in   Refers to Defendants’
       (“Motions in Limine”)                       yellow of pages: 14-    highly confidential and
17                                                 17                      commercially sensitive
       (Exhibit 2 to the Declaration of Aaron S.                           technical materials
18
       Craig in Support of                                                 designated as “Highly
19     Defendants’ Administrative Motions)                                 Confidential – Attorneys’
                                                                           Eyes Only”
20
       Declaration of Joseph N. Akrotirianakis     Paragraph 16            Refers to Defendants’
21     in Support of Defendants’ Trial Brief                               highly confidential and
22     and Defendants’ Motions in Limine                                   commercially sensitive
       (“Akrotirianakis Decl.”)                                            technical materials
23                                                                         designated as “Highly
       (Exhibit 3 to the Declaration of Aaron S.                           Confidential – Attorneys’
24     Craig in Support of                                                 Eyes Only”
       Defendants’ Administrative Motions)
25     Exhibits J to the Declaration of Joseph   All                       Refers to Defendants’
26     N. Akrotirianakis in Support of the Trial                           highly confidential and
       Brief and Motions in Limine                                         commercially sensitive
27     (“Akrotirianakis Decl.”)                                            technical materials
                                                                           designated as “Highly
28     (Exhibit 3 to the Declaration of Aaron S.                           Confidential – Attorneys’
                                                       1
      [PROPOSED] ORDER                                                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 596-20          Filed 03/13/25   Page 3 of 3



 1                    Document                      Portion(s) to Seal      Reason for Sealing
       Craig in Support of                                                Eyes Only”
 2     Defendants’ Administrative Motions)
 3     Exhibits M to the Declaration of Joseph     All                    Refers to Defendants’
       N. Akrotirianakis in Support of the Trial                          highly confidential and
 4     Brief and Motions in Limine                                        commercially sensitive
       (“Akrotirianakis Decl.”)                                           technical materials
 5                                                                        designated as “Highly
       (Exhibit 3 to the Declaration of Aaron S.                          Confidential – Attorneys’
 6
       Craig in Support of                                                Eyes Only”
 7     Defendants’ Administrative Motions)

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             IT IS SO ORDERED.
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10     DATED: _________________

11                                                 THE HONORABLE PHYLLIS J. HAMILTON
                                                   SENIOR UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER                                                        Case No. 4:19-cv-07123-PJH
